                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                             3:16-CR-00307-RJC-DCK
 USA,                                           )
                                                )
                Plaintiff,                      )
                                                )
    v.                                          )          ORDER
                                                )
 CAMERON ROBERTS,                               )
                                                )
                Defendant.                      )
                                                )

         THIS MATTER is before the Court upon the Government’s Motion to Dismiss, (Doc.

No. 162), of the Indictment, (Doc. Nos. 61, 139), as to Cameron Roberts, without prejudice.

         IT IS, THEREFORE, ORDERED that the Government’s motion, (Doc. No. 162), is

GRANTED and the Indictment, (Doc. Nos. 61, 139), is DISMISSED as to Cameron Roberts,

without prejudice.

                                           Signed: May 26, 2017




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